                      Case 2:19-cv-01131-ACA Document 3 Filed 07/24/19 Page 1 of 2                                                 FILED
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                                                                                                                          U.S. DISTRICT COURT
                                                                                                                              N.D. OF ALABAMA



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                                                                  Summons
                                                              )           (Issued pursuant to Rule 4 of
                                                              )           the Federal Rules of Civil Procedure or other
                                                                          appropriate law.)
David Millan,                                                 )
       Plaintiff,                                             )
                                                              )
v.                                                            )
                                                              )        2:19-CV-01131-ACA
EL POBLANO MEXICAN RESTAURANT, a domestic                     )
corporation; and FIDEL CASTRO, and individual,                )
                                                              )
         Defendant.                                           )

                                                Summons in a Civil Action

To:      Fidel Castro
         519 Creekview Cir
         Hoover, Al 35226-3417




A lawsuit has been filed against you.

         Within _2l _ _days after service of this summons on you (not counting the day you received it), you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff's attorney, whose name and address are:

Freddy Rubio, Esq.
Charline Whyte, Esq.
RUBIO LAW FIRM, P.C.
438 Carr Avenue, Suite I
Birmingham, AL 35209


If you fail to do so, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DATE    q\~\ \C\                                                  SHARON N. HARRIS, C ERK

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                                                                  NORTHERN DISTRICT OF ALABAMA
                                                                  1729 5'" Avenue North
                                                                  Birmingham, Alabama 35203
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                      Case 2:19-cv-01131-ACA Document 3 Filed 07/24/19 Page 2 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA

                                                                                 Summons
                                                              )          (Issued pursuant to Rule 4 of
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David Millan,                                                 )
       Plaintiff,                                             )
                                                              )
v.                                                            )
                                                              )      2:19-CV-01131-ACA
EL POBLANO MEXICAN RESTAURANT, a domestic                     )
corporation; and FIDEL CASTRO, and individual,                )
                                                              )
         Defendant.                                           )

                                                Summons in a Civil Action

To:
         El Poblano Mexican Restaurant
         c/o Maexia Adan
         190 I Center Point Road
         Birmingham, Alabama 35215

A lawsuit has been filed against you.

         Within _2l _ _ days after service of this summons on you (not counting the day you received it), you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure.
The answer or motion must be served on the plaintiff's attorney, whose name and address are:

Freddy Rubio, Esq.
Charline Whyte, Esq.
RUBIO LAW FIRM, P.C.
438 Carr Avenue, Suite I
Birmingham, AL 35209


If you fail to do so, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.


DATE     1\;4\ \~                                              SHARON N. HARRIS, C L ~ ·

                                                                  By:~

SEE REVERSE SIDE FOR RETURN                                       Deputy Clerk

                                                                          (SEAL OF COURT)


                                                                  NORTHERN DISTRICT OF ALABAMA
                                                                  1729 5th Avenue North
                                                                  Birmingham, Alabama 35203
